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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF PUERTO RICO


       IN RE:

        SKYTEC, INC.,                                   CASE NO. 18-05288 (EAG)

        DEBTOR.                                         CHAPTER 11


                        United States Trustee's Motion in Compliance
                            with Court’s Order at Docket No. 345

    TO THE HONORABLE COURT:

          Nancy J. Gargula, United States Trustee for Region 21, through her

    undersigned counsel, respectfully states and prays as follows:

          1.      On April 20, 2020, the Court entered an order directing the United States

    Trustee to submit her position as to Debtor’s Application for Final Decree. (Docket

    No. 345).

          2.      In compliance with the Court’s order, the United States Trustee informs

    that she has no objection to Debtor’s request.

          WHEREFORE, the United States Trustee respectfully requests that the Court

    take notice of the above and deem her in compliance with the order entered at docket

    no. 345.


                                 CERTIFICATE OF SERVICE

          I DO HEREBY CERTIFY that on this day I electronically filed a true and exact

    copy of the foregoing with the Clerk of the Court using the CM/ECF System which

    will send notification of such filing to all CM/ECF participants.

          DATED April 27, 2020
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    UNITED STATES TRUSTEE’S MOTION IN COMPLIANCE
    IN RE: SKYTEC, INC, CASE NO. 18-05288 (EAG)                                          Page 2 of 2

                                                               NANCY J. GARGULA
                                                              United States Trustee

                                                      MONSITA LECAROZ ARRIBAS
                                                     Assistant United States Trustee

                                                  U.S. DEPARTMENT OF JUSTICE
                                         OFFICE OF THE UNITED STATES TRUSTEE
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                                                                (Electronically Filed)

                                                    By: s/ Julio Guzmán-Carcache
                                                           Julio Guzmán-Carcache
                                                                    Trial Attorney
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